               Case 1:10-cr-00246-LJO Document 24 Filed 07/20/10 Page 1 of 2


1    DANIEL J. BRODERICK, Bar #89424
     Federal Defender
2    CHARLES J. LEE, Bar #221057
     Assistant Federal Defender
3    Designated Counsel for Service
     2300 Tulare Street, Suite 330
4    Fresno, California 93721-2226
     Telephone: (559) 487-5561
5
     Attorney for Defendant
6    CESAR PEREZ SANCHEZ
7
8                                  IN THE UNITED STATES DISTRICT COURT
9                                FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,             )               No. 1:10-cr-00246 LJO
                                           )
12                 Plaintiff,              )               STIPULATION TO MODIFY
                                           )               TERM OF PRETRIAL RELEASE;
13     v.                                  )               ORDER THEREON
                                           )
14   CESAR PEREZ SANCHEZ,                  )
                                           )
15                 Defendant.              )
     _____________________________________ )
16
17
18          IT IS HEREBY STIPULATED by and between the parties hereto, and through their respective
19   attorneys of record herein, that the terms of pretrial release be modified for the above named defendant to
20   add the condition that “Defendant shall participate in a program of medical or psychiatric treatment
21   including treatment for drug and/or alcohol dependency, and pay for costs as approved by the Pretrial
22   Services Officer; All prior terms and conditions of pretrial release, not in conflict, shall remain in full
23   force and effect.” This modification is sought by all parties, including Pretrial Services Officer Dan Stark,
24   ///
25   ///
26   ///
27   ///
28   ///
                                                            1
                Case 1:10-cr-00246-LJO Document 24 Filed 07/20/10 Page 2 of 2


1    to allow for counseling to help Mr. Sanchez deal with the current stresses and issues in his life. No
2    conduct which is in violation of any pretrial order has been alleged or is suspected.
3                                                                     BENJAMIN B. WAGNER
                                                                      United States Attorney
4
5    DATED: July 19, 2010                                       By: /s/ Susan Phan
                                                                   SUSAN PHAN
6                                                                  Assistant United States Attorney
                                                                   Attorney for Plaintiff
7
8
9                                                                     DANIEL J. BRODERICK
                                                                      Federal Public Defender
10
11   DATED: July 19, 2010                                       By:    /s/ Charles J. Lee
                                                                      CHARLES J. LEE
12                                                                    Assistant Federal Defender
                                                                      Attorneys for Defendant
13
14
15                                                     ORDER
16            IT IS SO ORDERED that the terms of pretrial release be modified for the above named defendant
17   to add the condition that “Defendant shall participate in a program of medical or psychiatric treatment
18   including treatment for drug and/or alcohol dependency, and pay for costs as approved by the Pretrial
19   Services Officer; All prior terms and conditions of pretrial release, not in conflict, shall remain in full
20   force and effect.”
21
22
23            IT IS SO ORDERED.
24   Dated:      July 20, 2010                         /s/ Sandra M. Snyder
     icido3                                     UNITED STATES MAGISTRATE JUDGE
25
26
27
28
                                                            2
